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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ____________________________________/

       ORDER IN ANTICIPATION OF SCHEDULING CONFERENCE AND HEARING

         THIS CAUSE comes before the Court in anticipation of the Scheduling Conference set

  for March 1, 2024, at 10:00 AM [ECF Nos. 215, 332]. To facilitate an orderly and productive

  conference, the parties are advised as follows:

         1. On or before February 29, 2024, at 6:00 P.M., the Special Counsel and Defendants

             shall separately file scheduling proposals, taking into account all pending motions (both

             publicly filed and filed temporarily in camera) [see, e.g., ECF Nos. 262, 294, 312, 323–

             327], associated requests for hearings (evidentiary and non-evidentiary) [ECF Nos.

             262, 323, 324, 325],1 and any pertinent topics related to scheduling.



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    Pursuant to the Court’s February 20, 2024, Order [ECF No. 320], Defendants submitted to the
  Special Counsel and the Court for temporary in camera review an additional eight substantive
  pretrial motions that await public filing pending resolution of the various sealing/redaction issues
  before the Court [see ECF Nos. 261, 267, 269, 271, 278, 282–283, 286, 294, 296 (Sealed), 312,
  316, 328, 333–334]. Based on the Court’s preliminary review, three of the eight in camera motions
  are accompanied by requests for hearings.
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               a. The proposals shall be mindful of the potential need to hold any portion of the

                   hearing(s) in a facility suitable for the discussion of classified information

                   and/or under complete or partial seal.

               b. Defendants’ proposal shall be filed in consolidated form, identifying any areas

                   of divergence or disagreement within the consolidated filing.

               c. The parties should be guided by the chart/template provided in the Court’s July

                   21, 2023, Order on the Special Counsel’s Motion to Continue Trial [ECF No.

                   83 pp. 5–8], supplementing with additional deadlines/hearings as necessary.

        2. Further, at the March 1, 2024, Scheduling Conference, the parties shall be prepared to

           discuss the requested hearing on Defendants’ Motions to Compel [ECF No. 262],

           including the format (evidentiary/non-evidentiary), scope, anticipated duration,

           possible factual disputes for resolution, and possible CIPA and/or sealing/redaction

           implications.

        3. Finally, at the March 1, 2024, Scheduling Conference, the parties shall be prepared (in

           the afternoon session) to present studied legal argument on the Special Counsel’s

           pending Motion for Reconsideration [ECF No. 294] and all related/forthcoming filings

           concerning sealing/redaction [ECF Nos. 261, 267, 269, 271, 278, 282–283, 286, 294,

           296 (Sealed), 312, 316, 320, 328, 333–334]. The parties shall be informed on the

           various details implicated in the filings, noting the categories of information involved

           and the current posture of this criminal case. Based on the various pre-trial motions

           filed to date, the categories of information include, for example, the names of “potential

           government witnesses” as referenced in pre-trial motions requiring judicial resolution;

           the substance of statements of potential government witnesses; grand jury transcripts,



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             exhibits, subpoenas, and court orders from an expired grand jury investigation; search

             warrant application(s); and any miscellaneous exhibits implicated in Defendants’

             Motions to Compel and/or requests for leave to file discovery (e.g., floorplans). The

             parties shall incorporate in their presentation relevant authorities, including caselaw

             applying the First Amendment in the criminal context (post-indictment), the Sixth

             Amendment right to a public trial, Rules 6(e) and 16(d)(1) of the Federal Rules of

             Criminal Procedure, the Local Rules of this District, and any applicable common law

             principles.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 27th day of February

  2024.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE



  cc:     counsel of record




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